
665 S.E.2d 740 (2008)
Wellington CRUTCHFIELD, Employee
v.
CAROLINA FOOTBALL ENTERPRISES, INC., Uninsured-Employer and
Travelers Insurance Company, Carrier.
No. 223P08.
Supreme Court of North Carolina.
August 26, 2008.
John A. Hedrick, Raleigh, April D. Seguin, for Crutchfield.
Susan Vanderweert, Raleigh, for Travelers Ins. Co.
Kristine L. Prati, for Carolina Football Enterprises.

ORDER
Upon consideration of the conditional petition filed on the 27th day of May 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 26th day of August 2008."
HUDSON, J., recused.
